Case 3:17-cv-02398-DMS-MDD Document 118 Filed 07/20/18 PageID.606 Page 1 of 5



   1 David A. Nelson (Pro Hac Vice)
       (Ill. Bar No. 6209623)
   2 davenelson@quinnemanuel.com
       QUINN EMANUEL URQUHART & SULLIVAN, LLP
   3 191 N. Wacker Drive, Suite 2700
       Chicago, Illinois 60606
   4 Telephone: (312) 705-7400
       Facsimile: (312) 705-7401
   5
       Karen P. Hewitt (SBN 145309)
   6 kphewitt@jonesday.com
       Randall E. Kay (SBN 149369)
   7 rekay@jonesday.com
       Kelly V. O’Donnell (SBN 257266)
   8 kodonnell@jonesday.com
       JONES DAY
   9 4655 Executive Drive, Suite 1500
       San Diego, California 92121
  10 Telephone: (858) 314-1200
       Facsimile: (844) 345-3178
  11
       Richard S. Zembek (Pro Hac Vice)
  12 richard.zembek@nortonrosefulbright.com
       NORTON ROSE FULBRIGHT US LLP
  13 1301 McKinney, Suite 5100
       Houston, TX 77010
  14 Telephone: (713) 651-5283

  15 Attorneys for Plaintiff and Counterclaim Defendant
       QUALCOMM INCORPORATED
  16
                                UNITED STATES DISTRICT COURT
  17
                           SOUTHERN DISTRICT OF CALIFORNIA
  18
       QUALCOMM INCORPORATED,                    Case No. 3:17-CV-02398-DMS-MDD
  19
                   Plaintiff,                    STIPULATION REGARDING
  20                                             PRIORITY DATE FOR THE ’356
       v.                                        PATENT
  21
       APPLE INCORPORATED,                       Complaint Filed: November 29, 2017
  22
                   Defendant.
  23

  24 AND RELATED
       COUNTERCLAIMS
  25

  26

  27

  28

                                                               CASE NO. 3:17-CV-02398-DMS-MDD
                                     STIPULATION REGARDING PRIORITY DATE FOR THE ’356 PATENT
Case 3:17-cv-02398-DMS-MDD Document 118 Filed 07/20/18 PageID.607 Page 2 of 5



   1                    STIPULATION REGARDING PRIORITY DATE
   2                                  FOR THE ’356 PATENT
   3        Plaintiff Qualcomm Incorporated (“Qualcomm”), by and through its
   4 undersigned counsel, hereby agrees and stipulates as follows:

   5        1.     This Stipulation Regarding Priority Date for the ’356 Patent
   6 (“Stipulation”) and the information it contains will be used only in the above-

   7 captioned Case No. 3:17-CV-02398-DMS-MDD and any appeal or remand arising

   8 therefrom. The Stipulation shall not be binding on any party for any other purpose

   9 or in any other administrative or judicial proceeding, and shall not be used for any

  10 other purpose, including as evidence, in any such other proceeding. The

  11 undersigned affirms and shall not dispute the statements made herein.

  12        2.     During a July 12, 2018 telephone conference in connection with the
  13 ITC Investigation No. 337-TA-1093, Qualcomm has agreed to submit this

  14 Stipulation. (Ex. A.)

  15        3.     Qualcomm does not and will not seek to establish a priority date for
  16 U.S. Patent No. 9,154,356 earlier than the filing date of U.S. Provisional Patent

  17 Application No. 61/652,064 on May 25, 2012 in the above-captioned Case No. 3:17-

  18 CV-02398-DMS-MDD.

  19        IT IS SO STIPULATED.
  20

  21

  22

  23

  24

  25

  26

  27

  28

                                                -2-            CASE NO. 3:17-CV-02398-DMS-MDD
                                     STIPULATION REGARDING PRIORITY DATE FOR THE ’356 PATENT
Case 3:17-cv-02398-DMS-MDD Document 118 Filed 07/20/18 PageID.608 Page 3 of 5



   1

   2

   3 DATED: July 20, 2018              By:          /s/ Michelle A. Clark
   4                                         QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
   5                                         David A. Nelson (pro hac vice)
                                             (Ill. Bar No. 6209623)
   6                                         davenelson@quinnemanuel.com
                                             191 N. Wacker Drive, Suite 2700
   7                                         Chicago, Illinois 60606
                                             Telephone: (312) 705-7400
   8                                         Facsimile: (312) 705-7401
   9                                         Sean S. Pak (SBN 219032)
  10                                         seanpak@quinnemanuel.com
                                             Michael D. Powell (SBN 202850)
  11                                         mikepowell@quinnemanuel.com
                                             Michelle Ann Clark (SBN 243777)
  12                                         michelleclark@quinnemanuel.com
                                             Andrew M. Holmes (SBN 260475)
  13
                                             drewholmes@quinnemanuel.com
  14                                         50 California Street, 22nd Floor
                                             San Francisco, California 94111
  15                                         Telephone: (415) 875-6600
                                             Facsimile: (415) 857-6700
  16

  17                                         Patrick Curran (SBN 241630)
                                             patrickcurran@quinnemanuel.com
  18                                         51 Madison Avenue, 22nd Floor
                                             New York, NY 10010
  19                                         Telephone: (212) 849-7000
  20                                         Facsimile: (212) 849-7100

  21

  22

  23

  24

  25

  26

  27

  28

                                            -3-            CASE NO. 3:17-CV-02398-DMS-MDD
                                 STIPULATION REGARDING PRIORITY DATE FOR THE ’356 PATENT
Case 3:17-cv-02398-DMS-MDD Document 118 Filed 07/20/18 PageID.609 Page 4 of 5



   1                                       Yury Kapgan (SBN 218366)
                                           yurykapgan@quinnemanuel.com
   2
                                           Scott Watson (SBN 219147)
   3                                       scottwatson@quinnemanuel.com
                                           Michael Louis Fazio (SBN 228601)
   4                                       michaelfazio@quinnemanuel.com
                                           Joseph Sarles (SBN 254750)
   5                                       josephsarles@quinnemanuel.com
   6                                       Valerie A. Lozano (SBN 260020)
                                           valerielozano@quinnemanuel.com
   7                                       865 South Figueroa Street, 10th Floor
                                           Los Angeles, California 90017
   8                                       Telephone: (213) 443-3000
                                           Facsimile: (213) 443-3100
   9

  10                                       JONES DAY
                                           Karen P. Hewitt (SBN 145309)
  11                                       kphewitt@jonesday.com
                                           Randall E. Kay (SBN 149369)
  12
                                           rekay@jonesday.com
  13                                       John D. Kinton (SBN 203250)
                                           jkinton@jonesday.com
  14                                       4655 Executive Drive, Suite 1500
                                           San Diego, California 92121
  15                                       Telephone: (858) 314-1200
  16                                       Facsimile: (858) 345-3178

  17                                       NORTON ROSE FULBRIGHT US LLP
                                           Richard S. Zembek (Pro Hac Vice)
  18                                       richard.zembek@nortonrosefulbright.com
  19                                       1301 McKinney, Suite 5100
                                           Houston, TX 77010
  20                                       Telephone: (713) 651-5283
  21                                       Attorneys for Plaintiff and Counterclaim
  22                                       Defendant
                                           QUALCOMM INCORPORATED
  23

  24

  25

  26

  27

  28

                                            -4-            CASE NO. 3:17-CV-02398-DMS-MDD
                                 STIPULATION REGARDING PRIORITY DATE FOR THE ’356 PATENT
Case 3:17-cv-02398-DMS-MDD Document 118 Filed 07/20/18 PageID.610 Page 5 of 5



   1                           CERTIFICATE OF SERVICE
   2        I hereby certify that on July 20, 2018, the foregoing document was served via
   3 electronic mail on all counsel of record.

   4        Executed on July 20, 2018, at San Francisco, California.
   5

   6

   7                                             /s/Michelle A. Clark
                                                 Michelle A. Clark
   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                               -5-            CASE NO. 3:17-CV-02398-DMS-MDD
                                    STIPULATION REGARDING PRIORITY DATE FOR THE ’356 PATENT
